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                               11                        UNITED STATES DISTRICT COURT
501 WEST BROADWAY, SUITE 600
 SAN DIEGO, CALIFORNIA 92101




                               12                    SOUTHERN DISTRICT OF CALIFORNIA
                               13
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                               14 In re                                        U.S.D.C Case No.: '20CV0871 JAH BLM
                               15 DOMI Publications, LLC,                      Bankruptcy Case No. 20-10250-btb
                                                                               (Bankr. D. Nev.)
                               16              Debtor.
                                                                               Chapter 7
                               17
                                                                               DOMI PUBLICATIONS, LLC'S
                               18                                              NOTICE OF MOTION AND
                                                                               MOTION TO QUASH OUT OF
                               19                                              DISTRICT SUBPOENAS
                               20                                              Date:       To be set.
                                                                               Time:       To be set.
                               21                                              Crtrm.:     To be set.

                               22
                               23
                               24         TO THE COURT AND THE PARTIES AND THEIR ATTORNEYS OF
                               25 RECORD:
                               26         PLEASE TAKE NOTICE that on _______________ in Department ___ of
                               27 the above-entitled Court, located at __________________, non-party, George Rikos
                               28 and the Law Offices of George Rikos (collectively, "Rikos") will move for an order

                                                                           1
                                             NOTICE OF MOTION AND MOTION TO QUASH OUT OF DISTRICT SUBPOENAS
                                1 quashing the Subpoena to Produce Documents, Information, or Objection or to
                                2 Permit Inspection of Premises in a Bankruptcy Case (or Adversary Proceeding) and
                                3 Subpoena for Rule 2004 Examination (collectively, the "Subpoenas") served upon
                                4 them.
                                5         Rikos brings this Motion under Federal Rules of Civil Procedure, Rules 26
                                6 and 45, and the Federal Rules of Bankruptcy Procedure, Rules 7026 and 9016, on
                                7 the following grounds:
                                8         1.     The Subpoenas have been issues for an improper purpose, outside
                                9 the scope of the intended use of Fed. R. Bankr. P. 2004. It is improper for the
                               10 subpoenaing party – creditors in the bankruptcy and plaintiffs in the State Court
                               11 Action – to take advantage of Rule 2004 to obtain discovery from their opposing
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                               12 party, including their strategies, privileged communications, and attorney work
                               13 product.
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                               14         2.     The Subpoenas seek protected attorney work product. Privileged
                               15 matters are not generally discoverable under Fed. R. Civ .P. 26(b)(1), and the
                               16 Bankruptcy Trustee's waiver of privilege should not extend to the Subpoenas issued
                               17 here, by Riko's state court adversary.
                               18         3.     The Subpoenas seek communications protected by the State Court
                               19 Action's Defendants' Joint Defense Agreement. Privileged matters are not
                               20 generally discoverable under Fed. R. Civ .P. 26(b)(1), and the Bankruptcy Trustee
                               21 does not have the authority to waive the joint defense privilege that is shared by
                               22 DOMI's co-defendant, Michael Pratt.
                               23         4.     The Subpoenas are premature because the subpoenaing parties
                               24 failed to take reasonable steps to mitigate the burden on Rikos. Rule 45 requires
                               25 that the serving party take reasonable steps to avoid imposing undue burden or
                               26 expense on a person subject to the subpoena. Fed. R. Civ. P. 45(d)(1). The
                               27 subpoenaing party has failed this obligation.
                               28 / / /

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                                               NOTICE OF MOTION AND MOTION TO QUASH OUT OF DISTRICT SUBPOENAS
                                1            5.     The Subpoenas are overbroad, unnecessary, and unmanageable.
                                2 The expansive scope of the definitions and document requests leaves Rikos with the
                                3 impossible task of checking every corporate nook and cranny, then reviewing
                                4 millions of documents to avoid the improper production of a document protected by
                                5 attorney client privilege in another case.
                                6            6.     Rikos lacked adequate time to respond to the Subpoenas. To
                                7 adequately comply with any document request that requires the collection and
                                8 review of his entire email and document files, Rikos requires substantially more
                                9 time, no less than 90 days.
                               10            7.     Rule 45 requires the subpoenaing part to pay the costs of
                               11 compliance. This Court must protect Rikos from significant expense resulting from
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                               12 compliance by shifting the financial burden to the issuing party.
                               13            This Motion follows meet and confer calls between Rikos's counsel and
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                               14 counsel for the subpoenaing party. No agreement could be reached, particularly
                               15 given that Rikos only received 14 days notice.
                               16            This Motion is based on the attached Memorandum of Points and Authorities
                               17 in support of the motion; the Declaration of George Rikos attached hereto; the
                               18 statutes and case law of California, the Federal Rules of Bankruptcy Procedure, and
                               19 the Federal Rules of Civil Procedure; the oral argument of counsel; and any other
                               20 matters for which the Court may take judicial notice.
                               21
                               22                                         KLINEDINST PC
                               23
                               24 DATED: May 8, 2020                      By:         /s/ Earll M. Pott
                               25                                               Heather L. Rosing
                                                                                Earll M. Pott
                               26                                               Tara R. Burd
                               27                                               Attorneys for George Rikos and Law
                                                                                Offices of George Rikos
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                                                  NOTICE OF MOTION AND MOTION TO QUASH OUT OF DISTRICT SUBPOENAS
